Case 3:21-cv-00732-KHJ-MTP Document 1-1 Filed 11/10/21 Page 1 of 5




                          EXHIBIT "A"
Case 3:21-cv-00732-KHJ-MTP Document 1-1 Filed 11/10/21 Page 2 of 5




                          EXHIBIT "A"
Case 3:21-cv-00732-KHJ-MTP Document 1-1 Filed 11/10/21 Page 3 of 5




                          EXHIBIT "A"
Case 3:21-cv-00732-KHJ-MTP Document 1-1 Filed 11/10/21 Page 4 of 5




                          EXHIBIT "A"
Case 3:21-cv-00732-KHJ-MTP Document 1-1 Filed 11/10/21 Page 5 of 5




                          EXHIBIT "A"
